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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                       (Northern Division)

COLUMBIA GAS TRANSMISSION, LLC,                        )
                                                       )
               Plaintiff,                              )
                                                       )
v.                                                     )       Civ. No.: 1:19-cv-01444 GLR
                                                       )
0.12 ACRES OF LAND, MORE OR                            )
LESS, IN WASHINGTON COUNTY,                            )
MARYLAND; STATE OF MARYLAND,                           )
DEPARTMENT OF NATURAL RESOURCES,                       )
                                                       )
               Defendants.                             )

                PLAINTIFF COLUMBIA GAS TRANSMISSION, LLC’S
              MOTION TO STRIKE DEFENDANT’S MOTION TO DISMISS

       Plaintiff Columbia Gas Transmission, LLC (“Columbia”), pursuant to Federal Rule of

Civil Procedure 71.1(e)(3), moves to strike Defendant State of Maryland, Department of Natural

Resources’ (“MDNR”) Motion to Dismiss (ECF No. 29) (the “Motion”). Pursuant to Rule 71.1’s

plain language – as well as abundant case law in the Fourth Circuit and elsewhere applying that

language – MDNR’s Motion is impermissible and should be stricken.

       Contemporaneously herewith, Columbia has filed a Memorandum in Support of its Motion

to Strike Defendant’s Motion to Dismiss, which is incorporated by reference as if fully set forth

herein, along with a Proposed Order.

       WHEREFORE, Plaintiff Columbia Gas Transmission, LLC prays that this Court: (i) enter

an order striking MDNR’s Motion to Dismiss; (ii) or, in the alternative, issue an order denying

MDNR’s Motion to Dismiss for the reasons set forth in Columbia’s Reply in Support of its Motion

for an Order of Condemnation and for Preliminary Injunction, which is incorporated by reference

as if fully set forth herein; and (iii) grant Columbia such other and further relief as the Court deems

just and proper.

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Dated: July 8, 2019                     Respectfully submitted,

                                 By:    /s/
                                        Arnold M. Weiner (MD Bar No. 01605)
                                        Alan M. Rifkin (MD Bar No. 11562)
                                        Barry L. Gogel (MD Bar No. 25495)
                                        Rifkin Weiner Livingston, LLC
                                        225 Duke of Gloucester Street
                                        Annapolis, Maryland 21401
                                        T: 410.269.5066
                                        F: 410.269.1235
                                        aweiner@rwllaw.com
                                        arifkin@rwllaw.com
                                        bgogel@rwllaw.com

                                        John Haug (admitted pro hac vice)
                                        David Fedder (admitted pro hac vice)
                                        Michael Harriss (admitted pro hac vice)
                                        Dentons US LLP
                                        211 N. Broadway Suite 3000
                                        St. Louis, MO 63102
                                        T: 314.259.1800
                                        F: 314.259.5959
                                        john.haug@dentons.com
                                        david.fedder@dentons.com
                                        michael.harriss@dentons.com
                                   Attorneys for Plaintiff Columbia Gas Transmission, LLC

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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY THAT on this 8th day of July, 2019, the foregoing was served by

CM/ECF on all registered CMF users.

                                                     /s/
                                        Arnold M. Weiner




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